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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


 In re: CHANGE HEALTHCARE, INC.                             MDL No. 24-3108 (DWF/DJF)
 CUSTOMER DATA SECURITY
 BREACH LITIGATION

                                                          PRETRIAL ORDER NO. 6
 This Document Relates to All Actions               (RE: Agenda for February 4, 2025
                                                         9:30 a.m. Status Conference)



      Pursuant to the Court’s Pretrial Order No. 2 (Doc. No. 69 ¶ 12) and consistent with

issues discussed in both the current and proposed Federal Rule of Civil Procedure 16.1

aimed at providing case-management guidance in MDLs, the Court directs the parties

place the following items on the agenda for the February 4, 2025 Status Conference:

            the stay of discovery;

            the status of the breach notices;

            TFAP loan collection efforts; and

            plaintiff transferor court determinations.


Dated: January 31, 2025                   s/Donovan W. Frank
                                          DONOVAN W. FRANK
                                          United States District Judge
